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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

UNITED STATES OF AMERICA,                        §
                                                 §
                       Plaintiff,                §
                                                 §
v.                                               §            CRIMINAL NO. H-93-210-6
                                                 §
RAFAEL CASTRO,                                   §
                                                 §
                       Defendant.                §
                                                 §
CIVIL ACTION NO. 97-1407                         §

                                              ORDER

       Raphael Castro is a federal prison inmate convicted in 1996 after a lengthy jury trial of drug

trafficking offenses and conspiracy to commit those offenses. Castro received a 292 month

sentence. The Fifth Circuit affirmed his conviction and judgment in 1996. Castro’s motion to vacate

under 28 U.S.C. § 2255 was denied and the Fifth Circuit affirmed. In March 2007, the Fifth Circuit

Court of Appeals denied Castro a certificate of appealability to challenge this court’s denial of his

2006 challenge to the sentence he had received. In February 2012, Castro filed a motion requesting

a copy of the transcript of his sentencing, at government expense. But there is no pending

postconviction relief motion under 28 U.S.C. § 2255 and could not be unless the Fifth Circuit

granted Castro leave to file a successive petition. The record does not show that he has made such

a request or, given his numerous prior challenges, that he would have a basis for doing so. A federal

prisoner pursuing postconviction remedies is not entitled to transcripts at government expense

merely because he is indigent. See United States v. Herrera, 474 F.2d 1049 (5th Cir.1973); United

States v. Oquendo, 1995 WL 16789 (E .D. La.). Before a transcript is ordered, the court must certify
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that the claim asserted under section 2255 is not frivolous and that the transcript is needed to decide

the issue raised. A federal prisoner is not entitled to obtain copies of court records at government

expense to search for possible defects in the proceedings, to determine whether there is a basis to

file a challenge. See Bonner v. Henderson, 517 F.2d 135, 136 (5th Cir. 1975); Campbell v. United

States, 538 F.2d 692, 693 (5th Cir. 1976); United States v. Oquendo, 1995 WL 16789, *1 (E.D. La.

1995); United States v. Scott, 2000 WL 1818514, *1 (E.D. La.). The motion seeking a copy of the

transcript, Docket Entry No. 715, is DENIED.

               SIGNED on March 13, 2012, at Houston, Texas.

                                                      ______________________________________
                                                               Lee H. Rosenthal
                                                         United States District Judge




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